 Case: 1:15-cr-00260 Document #: 286 Filed: 09/18/18 Page 1 of 1 PageID #:2459

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:15−cr−00260
                                                           Honorable Jorge L. Alonso
Roderick Groetzinger, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 18, 2018:


        MINUTE entry before the Honorable Jorge L. Alonso as to Roderick Groetzinger:
Motion hearing held. Defendant's motion for release pending appeal [267] is entered and
continued to 9/20/18 at 11:00 a.m. Defendant's motion to modify judgment and
commitment order to recommend placement in either the FCI−I Butner (NC) and FCI−II
Butner (NC) have RDAP Programs [274] is granted. Defendant's motion for disclosure of
victim impact statements [276] is stricken without prejudice. Defendant&#039;s motion
for disclosure of statement of reasons [278] is denied with prejudice. Defendant's motion
to correct sentence under Rule 35 [281] is denied. Defendant's motion to file documents
under seal [283] is entered and continued to 9/20/18 at 11:00 a.m. Notices mailed by
judge's staff (ntf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
